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Federal Court of the Northern District of Ohio

Youngstown Division

David C. Lettieri Ae DQ CVOT 5 1
Plaintiff JUDGE PEARSON

-against- Index No.

MAG JUDGE KNAPP

Four In One
Defendant Complaint

The plaintiff acting pro se, as for a verified complaint herein

respectfully alleges as follows:

1. That all times relevant the plaintiff is force at 2240
Hubbard Road, Youngstown Oh 44505.

2. Upon Information and Belief at all times relevant the
defendant Four In One place of business is located in San Jose, CA
95133 and Chelmsford, MA 01824.

3. This complaint is in regards to a product that Four In One
makes. It is called Salad Fresh Four In One Mustard.
4. There are no Nutrution Facts on the package.
5. The ingredients are as followed: Distilled Vineager and
water, mustard seed, salt, turmeric paprika, spices and flavoring.
6. The plaintiff under belief that mustard seed has a type of
carbohydrate that has calories in it.

7. The plaintiff knows salt.is sodium in which has nutrition
facts for a proper diet.

8. The plaintiff doesn't know what turmeric is.

9, The plaintiff doesn't know what spices are in the package.

10. The plaintiff doesn't know what flavoring is in the package.

11. The plaintiff has been incaracted at Niagara County Jail in

Lockport New york and Northeast Ohio Correction Center to be unable
to Reseach such matters.
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As for a First Cause of Action

Administrive Neglience

12. Because of No Nutrition Facts being placed on the package a

form of neglected was toward the custumers.

As for a Second Cause of Action
New York State General Business law 349

13. New York State General Business Law 349(a) states:
Deceptive acts or practices in the conduct of any business,
trade, or commerce or in the furnishing of any service in this
state are hereby declard unlawful.
14.Because of no Nutrition Facts on the package it is a form

of deceptive acts that would be considered unlawful.

As for a Third cause of Action
Invisible Harm Caused by Seperate Tortfeasors

15. The actions taken by Four In One are seperate and
independant in which are not by the tortfeasors that have cause

such injury.

As for a Fourth cause of Action

Breach of Duty Care

16. Four In One had a duty of care not to withhold information
from a custumer that is vital to one's health and needs. As such

had breach a duty of care.

As for a fifth cause of action
Breach of Imply Contract

17. Since this product had gone thru Niagara County Jail and
Northeast Ohio Correctional Center there is a type of contract’ that
can be implied. As such Four In One had breach an Implied Contract

by withholding information.
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As for a Sixth Cause of Action
New York State General Business Law 350

False Adverting

18. False Adverting in the conduct of any business, trade, or
commerce or in the furnishing of any service in hereby declared
unlawful.

19. Because of no Nutrition facts it is a form of false

adverting in which would be declared unlawful.

As for a Seventh Cause of Action
Alternative Liabilit

20. All the tortfeasors are before the court in which the
defendant Four In One had caused an injury to the plaintiff for

such action.

As for an Eighth Cause of Action
Ohio Law 1345.02

Unfair or deceptive consumer sales practice

21. A. No supplier shall commit an unfair or deceptive acts or
practice in connnection with a consumer transaction. Such an unfair
or deceptive act or practice by supplier violates this section
whether it occurs before, during or after the transaction.

22. B. Without limiting the scope of division (A) of this
Saection, the act or practice of a supplier in representing any of
the following is deceptive.

23. 1. That are subjuct.of a consumer transaction has
spomsorship, approval, performance characteristics, accessories,
uses, or benfits that it does not have.

24. 2. That the subject of a consumer transaction is of a
particular standard, quality, grade, style, prescripition or, model

if it is not.
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25.
3. That.the subject of a consumer transaction is new. or unused,

if it is not.
26. 4. That the subject of a consumer transaction is abaliable

to the consumer for a reason that does not exist.

27. 5. That the subject of a consumer transaction has been
supplied.in accordance with a previous repesention, if it has not,
expect that the act of a supplier in furishing similar merechandise
of equal or greater value as a good faith substitute does not
violate this section.

28. 6. That the subject of a consumer transaction will be
supplied intends.

29. 7. That replacement or repair is needed, if it is not.

30. 8. That a specific price advantage exists, if it is not.

31. 9. That the supplier has a sponsorship, approval, or
affilation that the supplier does not have.

32. 10. That a consumer transaction involves or does not invole
a warrany, a disclaimer if warranties or other rights, remedies, or
obligations if the represntation is false.

33. With the Matter to Four In One the actions to what isat
hand would violate paragraph one, two, and. ten because of theno

Nutrition Facts.

As for a Ninth Cause of Action
Ohio Law.1345703

Unconscuibavke acts ir oractucé generally

34. A. No supplier shall commit an unconscionable act or
practice in connection with consumer transaction.::Such an
unconsionable act or practice by a supplier violates this section
wheter it occurs before, during or after the transaction.

35. B. In determining whether an act or practice is an
unconscionable, the following circumstances shall be taken into
consideration.

36. 14 Whether the supplier has knowingly taken advantage of
the inability of the consumer reasonable to protect trhe consumer's

interest because of the consumers physical or mental infirmities,
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Ignorance, illiteracy, or inability to understand the language of
an agreement,

37. 2. Whether the supplier know at the time the consumer
transaction was entered into that the price was substantia;;y in
excess of the price at which similar consumer transactions by like
cusumers.

38. 3. Whether the supplier knew at the time the consumer
transaction was entered into the inability of the consumer to
recieve a substantial benfit from the subject of the consumer
transaction.

39. 4. Whether the supplier knew at the time the consumer
trabsactuib was ebtered ubti tgat tgere was bi reasonable -
probability of paymeny of the obligation in full by the cunsumer.

AQ. 5. Whether the supplier required the consumer transaction
pm terms the supplier knew were substanyially one-sided in favor of
the supplier

41. 6. Whether the supplier knowingly made a misleading
statement of opinion on which the consumer was likely yo rely to
the consumer's detriment.

42. 7. Whether the supplier has, without justification, refused
to make a refund in cash or by check for a refuned item that was
jurchased with cash or by check,.unless the supplier had
comspicuously posted in the establishment at the time of the sale
stating the supplier's refund policy.

43. Because.of being stuck in the Northeast Ohio Correctional
Genter it had made the plaintiff be unable to have substantial
benfit from research in which the supplier Four In One knew because

of suppling to a Correctional facuilty.

Wherefore the plaintiff demands judgment as follow:
1. On the first cause of action, damages in the sum of $50,000
for Administrive Neglience.
2. On the Second Cause of action, damages in the sum of $50,000
for violation of New york State General Business Law 349.
3. On the Third cause of Acion, damages in the sum of $50,000

for Invisible Harm Caused by Seperate Tortfeasors.
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4. On the Fourth Cause of Action, damages in the sum $50,000 for
Breach of Duty Care.
5. On the Fifth cause of action, daamges in the sum of $50,00
for Breach of Imply Contract.
6. On the Sixth cause of action, in the sum of $50,000 for
violation of New York State General Business law #50.
7. On the seventh Cause of Action, damages in the sum of $50,000
for alternative liability.
8. On the Eighth Cause of Action, damages in the sum of $50,000
for violation of Ohio Law 1345.02.
9. On the Ninth Cause of Action, damages in the sum of $50,000
for violation of Ohio Law 1345.03.
10. For all other such, cause, equiable that the courts may see

fit and proper.

David C. Lettieri
Pro Se

2240 Hubbard Road
Younstown, OH 44505
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Verification

I David Carmine Lettieri, State that all the facts above are
true and to the best of my knowledge that are present in such |

lawsuit.

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Public Notary

David C. Lettieri
2240 Hubbard Road

whulltiay,

Youngstown OH, 44505 SEA,

ef,

4, ALLISON GOTERBA
2 Notary Public, State of Ohio
‘a-]= My Commission Expires

%§ August 18, 2024

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